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                            UNITED STATES DISTRICT COURT F0R
                            THE SOUTH ERN DISTRICT 0F FLORIDA


       JAMESBUCKMAN etal
       PLAINTIFF
                                                              Case# 19-C7-24184 M GC
       V.S.
       DEUTSCHE BANK NA                                                FILED BY               n.c ,
       TRUST COM PANY UN DER THE
       POOLIN G AND SERVICING                                            rr
       AGREEMENT SERIES M      ST                                       1.z'CEî27101ê
       2006-A8.ETAL                                                      .. ;tn,
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                             M OTION T0 DENY EXTENSION OF TIM E

              JAMESBUCKMAN ProSemotionsthiscourtto denyextensionoftime
       because the Bank knew thatw e w ere suing them since Novem ber 13th,2019 asw as
       stated even in state courtto defendantsthattheyw erebeingsued in FederalCourt
       and they knew becausew etalked to DeutscheBank directly who saidthey know
       aboutthe Law suitbutnever responded to the Law suitand they knew thatw e w ere
       talking to them because the FTC and the CFPB are investigating them concerning the
       unsigned m ortgage thatthey w ere using to Foreclose from and told usthey knew
       nothingaboutwhatBlankRomeandtheAttorney'sweredoingandwerenota arty/##yy/
       toitandtheyhaveneveransweredtheFTC/CFPB andseen inExh.A and did not
       answ erthe law suittheirpastthe 21 day and 5 daysafter 14 days required to
       answ eran am ended com plaintasstated by Deutsche Bank Attorneyppl #1and #2
       and then on the day w efiled thedefaultDec.23rd,2019 theClerk ofThe Court
       contactedthem andthenthey respondedonpage2where(1)theymentionedthat
       therewould benodangerofprejudicetoustheopposingpartywhichisnottrue
       becausethey are illegally evictingusw ithoutany signed m ortgagew hich w ould
       cause usto totally lose ourproperty and destroy ouryachtby causing itto sink if
       theyaresuccessfulwiththisprejudicialacttheydid notrespondtheyknow to
       respond asstated by 1aw se thereis n'o Clericalerrerand asstated cm page 2 first
       paragraph itsaysthatDec.23rd wasthedatethatDeutsche bankw assupposed to
       Respond which wasDec.18 which is5 daysnot2 daysyetthew holetim ethey
       knew thelaw suitexisted and w ould notrespond so they m ustbe Defaulted and on
       page3 #7 we arenow inform ed thatthisLawyeristotally fam iliarwith thiscaseto
       the FTC and w ith Exh.B they refused to answ erthey sentthe Policeto thehouseto
       evictuswhen they w eresupposed togiveusa 24111-notice from the Sheriffsnotthe
       Police so lrefuseto berem oved then they cam ein the houseand stolem y property
       outw hile lw as aw ay they have lostthe case because they also lied and said on pg.3
       oftheirresponse#10 the Lawyerslied and saidthisw astheirfirsttim e asking for
       an extension oftim eto respond butitisactually the secondtim e becausein theFTC
       com plaintthey asked foran extension oftim e to respond to the sam e accusations
       Exh.C.

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